Case 2:22-cv-02048-JAR-ADM Document 16-1 Filed 06/03/22 Page 1of4

EXHIBIT

   

TO: HCC COACHING STAFF
FROM: DAVID REIST, PRESIDENT

DATE: JUNE 10, 2019

| wanted to have one more Athletic Meeting before retiring, but | just didn’t get it
arranged before everyone left for the summer. So, I’m sending this memo to all head
and assistant coaches. Please accept this advice to help you be a successful coach at
Highland Community College. Whether you're a long time coach at HCC, or you’re
brand new, what I’ve laid out below should give you some guidance for working at HCC.

Athletics are a big part of our Highland Campus and | think everyone wants that to
continue. But, athletics is a much smaller part of our institution as a whole. We
generally have over 3,000 students each semester. By NUCAA rules we can have 237
scholarshiped athletes. Throw in a few walk-ons, athletic trainers, and cheer and
dance, the numbers are still less than 10% of our headcount. Your sport and you are
not indispensable, so don’t do anything to give anyone a reason to downsize athletics.

Although there is always a desire for higher salaries, more assistant coaches, new and
better equipment/uniforms/etc., HCC is spending more on athletics than ever before.
Yes, there are other colleges in the KJCCC spending more, but we’re spending more
than ever before on scholarships, budgets, and salaries.

We have some great facilities for athletes (weight room, Wellness Center, Stadium
Center and Porter Family Stadium and a new track soon (if it stops raining). However,
there is still improvement to be made with baseball field, office space, dressing rooms,
Allen Field House, etc. The perception of your sport and your athletes actions (in
athletics, the classroom, socially) carries a great deal of weight as to the Board’s
willingness to continue to improve facilities.

So here are some bullet points from a former faculty member, former assistant football
coach, soon to be former President, and soon to be general public spectator.

e RECRUIT KANSAS STUDENTS (at least some) - Kansas kids make this
institution go. Meaning: Kansans bring in more money to the institution because
we receive a State appropriation for Kansas credit hours. We don’t receive any
State money for non-Kansans. The last 9 years we've had a block grant for our
State Appropriation, but going forward community colleges will again be funded
per credit hour. Here’s an example: (I’m not picking on football) Two years ago,
our football roster had 20 out of state players and 43 Kansas players. The last
two years we've had few, if any, Kansas players on our roster. That didn’t make
much difference in funding under the block grant formula. Moving to being
Case 2:22-cv-02048-JAR-ADM Document 16-1 Filed 06/03/22 Page 2 of 4

funded per credit hour, and 43 less Kansans will be a huge loss in revenue for
HCC. (That's why you saw many of the die-hard community colleges in favor of
unlimited out of state players, change and vote in favor of adding back out of
state limits for football).

Thus, the importance of having Kansas student athletes on your team.

e RECRUIT STUDENTS WHO ARE NOT ATHLETES - When visitors and
parents can walk on campus and think they’re not surrounded by athletes, that’s
a good thing for the College and for Athletics. You have an opportunity
(sometimes through your players, sometimes by just being a HCC recruiter) to
recruit non-athletes to campus. Your student-athletes have boyfriends,
girlfriends, just friends, who you may come in contact with and they are also
looking for a place to go to school. Recruit them as a general student. You also
have the opportunity to recruit managers, statisticians, etc. for you team. I’ve
always thought 700-800 students on the Highland Campus would be idea. Our
athletic numbers are static; we're limited by NJCAA bylaws. To get to 700, we
need about 275 from athletics and 425 other students. Help make it happen and
it would be a good thing for athletics. This may sound like an odd thing to say,
but other than workouts, practice, and games, the less people notice athletics
and just see students (even though they may be seeing student athletes) the
better. We'll certainly give your students and you all of the attention you deserve
for your successes.

e OUT OF STATE LIMITS - The KJCCC imposed limits on the number of out
of state players at their spring meeting. Our Board has expressed interest in
limits for all sports. You can avoid having the Board impose limits for HCC if
you'll make an effort to recruit and involve Kansans on your roster today.

e RECRUIT YOUR NUMBERS - The scholarship dollars (budget) for your
team is based on the NJCAA Scholarship Limit multiplied by the cost of books
and tuition. If you chose to give a student more (fees, if you’re a Dil sport, OR
fees, room and board, if you're a DI sport), you'll have less students receiving
scholarships, but the Board expects you to keep your numbers very near the
NJCAA limit. By recruiting less students than you're allowed, you cost the
College thousands of dollars and your sport is perceived negatively at the Board
level. Although you now have the ability to give an athlete a full ride, our Board
will also perceive a full ride negatively and a waste of College money.

e GET YOUR ATHLETES IN COLLEGE OWNED HOUSING - Housing
needs to remain full, so please encourage your athletes to live in campus
housing. Housing generates income which pays for lots of things — like the
Wellness Center. March was the last payment on that facility ($3.5 million
project) and it was paid off in 12 years because we were able to keep housing
full. Every one of your team’s athletes living off campus is costing the College an
average of $6,300. Do the math. Last fall 2018 we began the semester with 52
Case 2:22-cv-02048-JAR-ADM Document 16-1 Filed 06/03/22 Page 3 of 4

openings in housing representing a loss of revenue of $327,600 (to put that in
perspective, the Wellness Center payment was $390,000). We've now had two
years of lost revenue with no means to make it up. If you value your volunteer
and part time coaches and the free housing they receive from HCC, they may be
in jeopardy. Those kind of things would be considered low hanging fruit, and ripe
to cut. And, in order to remodel and build new housing (so it’s something
students want to live in) we need to keep housing full.

Some institutions require students on scholarship to live in housing. | don’t think
we want to go there, but it could be a consideration if we continue to have
problems keeping housing full.

e RECRUIT GOOD PEOPLE -| know none of you intentionally recruit bad
citizens; at least, | hope not. Once you recruit a student athlete, he is identified
with your sport, no matter if he stays on your team or not. Recruit carefully and
recruit good people. Booting a bad kid from your roster and he/she stays in
school is just passing your problem on to others and if that happens often
enough, it will come back to haunt you.

e TAXPAYERS - The Doniphan County taxpayers will always complain about
the College mil levy, so don’t give them more to complain about. Board
members are recently hearing complaints from County commissioners and
others about the number of HCC students in the County jail this year. Every
prisoner in the County jail costs the County money. In those types of situations,
we are validating those who are not supportive of the College and make it more
difficult to justify taxation and benefit to the County.

e ACADEMICS:

o We expect your players to be in class. We expect that you monitor their
attendance and follow up with discipline when they’re not attending.

o We expect socially acceptable behavior in class, in our buildings, our
cafeteria, and on campus. We expect you to discipline when their
behavior is not acceptable.

o If your assistant coaches or you are advisors, we expect you to be good
advisors, go to meetings, and meet the job description set up for advisors.

o If you or your assistant coaches teach, we expect a college level class that
meets the rigor set up by HCC and the Kansas Board of Regents. We
expect you to be on time when teaching, stay the specific length of time,
and to be there every day.

o Our team GPA’s last year were the lowest in my 38 years at HCC. Our
Board expects better and you should expect better from your student
athletes.

o A low GPA gives the Board another reason to impose out of state limits on

your sport.
Case 2:22-cv-02048-JAR-ADM Document 16-1 Filed 06/03/22 Page 4of4

e MARIJUANA AND OTHE DRUG USE:

o If we're preparing athletes for the next level, then they need to be
prepared for the consequences of drug use. Because, there will certainly
be consequences at the next level.

o I'd strongly suggest head coaches and the Athletic Director implement
harsher consequences for the first positive drug test or possession of
drugs in student housing. | think loss of practice and game time should
occur from the first failed test or possession. It doesn’t have to be a huge
penalty, but it should be something.

o Your students should know that when they report in August, they need to
pass a drug test. For them to think differently, sets the bar too low.

e MESSAGE TO HEAD COACHES (AND ASSISTANTS) - Over the
years a lot of head coaches have complained to me about their assistants. My
advice has always been: get rid of them. If your assistants are not doing the job
you want done or they're not performing at the level I’ve laid out in the bullet
points above, get rid of them. All of us are replaceable.

Assistants: HCC expects your best. Which means doing your job as laid out by
the head coach. You are a representative of the institution. If your actions
compromise the institution or the head coach, we won't hesitate to get rid of you.
Over the last 28 years as a Vice President and then President, I’ve given many
great recommendations for HCC assistant coaches who have gone on to be very
successful. I’ve also given many piss poor recommendations for assistant
coaches. I’m sure they didn’t list me as a reference, but | ended up getting a
phone call. What you do here will have an impact on your future; the decision
makers at HCC are paying attention to how well you do your job.

e NJCAA AND KJCCC RULES AND BYLAWS - Simply, we expect you to
know the rules. Read the NJCAA and KJCCC bylaws for your sport. The
NJCAA has a section in their handbook called the Casebook. The Casebook is
full of examples and scenarios about the rules. Our AD will get you a copy of the
NJCAA handbook each year. Read it and know the rules.

Thanks for taking the time to read this. | think I’ve always been a pro-sports President.
| hope you think so, too. As a Vice President | was very frustrated with the success of
our athletic programs. When | accepted the President’s position, | told the Board that
we spend a lot of money on athletics, but we needed to spend more to make them
successful. Otherwise drop athletics. They chose to spend more, and we’ve become
more successful

If anything in this memo concerns you, please come by the office before the 27" to talk,
I'd be happy to sit down with you. Otherwise, Marci and | are not rushing out of town
and | plan to be at many of your contests next year.
